                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr363


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
ANTHONY WAYNE ELLIS (1)                  )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 62).

       The defendant pled guilty to Counts One, Eleven, Twelve, and Thirteen of the indictment

on February 27, 2007, charging conspiracy to possess with intent to deliver 50 grams or more of

cocaine base; possession of a firearm in furtherance of a drug trafficking crime; possession of a

firearm by a felon; and possession of body armor by a prohibited person. (Doc. No. 56: Plea

Agreement; Doc. No. 61: Acceptance and Entry of Guilty Plea; Doc. No. 62: Motion at ¶ 3(d)).

Thus, the defendant has been found guilty and is awaiting imposition of sentence for offenses

described in subparagraphs (A), (B), and (C) of subsection (f)(1) of 18 U.S.C. § 3142. Pursuant

to § 3143(a)(2), the defendant shall be detained unless the Court finds a substantial likelihood that

a motion for acquittal or new trial will be granted; or an attorney for the government has

recommended that no sentence of imprisonment be imposed; and the Court finds by clear and

convincing evidence the person is not likely to flee or pose a danger to any other person or the

community. 18 U.S.C. § 3143(a)(2)(A)(i), (ii) and (B).




        Case 3:06-cr-00363-RJC          Document 63        Filed 03/27/07      Page 1 of 2
       Upon review of the record, even in a light most favorable to the defendant, the Court finds

the defendant has not alleged or established that there is a substantial likelihood that motion for

acquittal or new trial will be granted or that an attorney for the government has recommended that

no sentence of imprisonment be imposed. Thus, the Court is obligated by the statute to detain the

defendant because the prerequisites for release have not been met. Id.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                                  Signed: March 26, 2007




                                                  2


        Case 3:06-cr-00363-RJC          Document 63        Filed 03/27/07      Page 2 of 2
